Case 2:Ol-cv-02795-BBD-dkv Document 54 Filed 05/02/05 Page 1 of 2 Page|D 48

 

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FoR THE wEsTERN DISTRICT oF TENNESSEE 0 ` ’(“‘
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UNITED s'rATEs or AMERICA, b§,'{;:i-“ 312 l_!_.S.“l '

  

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vs. No. 01-2795-Mlv

JAMES WILLIAM CALDWELL,

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Defendant.

 

ORDER ON MOTION TO CONTINUE

 

Before the court is the April 26, 2005 motion of the
government seeking a continuance of the evidentiary hearing on
petitioner Caldwell's § 2255 motion set June 9, 2005. The
government states Assistant United States Attorney Tim DiScenza
will be out of the country on June 9, 2005. The defendant does not
oppose the motion. The court having considered same is of the
opinion that the motion should be granted.

IT IS THEREFORE ORDERED that the hearing on the petition is
reset to Thursday, July 14, 2005, at 1:30 p.m. in Courtroom 5, 3rd

Floor Federal Building, 167 North Main Street, Memphis, Tennessee.

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DIANE K. vsscovo
UNITED s ATES MAGISTRATE JUDGE
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With ama 53 and/or 79(3) FHCP on 9 ’ '6’6

 

DISTRIT COURT - EsTERN ISRICT OF TNNESSEE

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Honorable Jon McCalla
US DISTRICT COURT

